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                               Exhibit 35



United States of America ex rel. Ven-a-Care of the Florida Keys, Inc v. Abbott Laboratories,
                  Inc.; Dey, Inc., et al.; Boehringer Ingelheim Corp., et al.;
                               Civil Action No. 01-12257-PBS


        Exhibit to the September 22, 2009, Declaration of George B. Henderson, II
       In Support of Plaintiff’s Response to Defendants’ Combined Local Rule 56.1
      Statement of Additional Material Facts Pertinent to the United States’ Motions
                     for Partial Summary Judgment Against Defendants
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Wiberg, Cody                                                       March 14, 2008

                                                                                 Page 1
                   UNITED STATES DISTRICT COURT

                 FOR THE DISTRICT OF MASSACHUSETTS

    IN RE: PHARMACEUTICAL INDUSTRY        ) MDL NO. 1456

    AVERAGE WHOLESALE PRICE               )

    LITIGATION                            ) CIVIL ACTION:

                                          ) 01-CV-12257-PBS

                                          ) Judge Patti B. Saris

                                          ) Magistrate Judge

                                          ) Marianne B. Bowler

    THIS DOCUMENT RELATES TO

    U.S. ex rel. Ven-A-Care of the

    Florida Keys,Inc., v.

    Abbott Laboratories, Inc., et al.

    No. 06-CV-11337-PBS

    (Caption continues on next page.)

    _______________________________________________________



                     VIDEOTAPED DEPOSITION OF

                            CODY WIBERG

                       Taken March 14, 2008

                      Commencing at 9:13 a.m.




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                                                                               Page 2
 1                         COMMONWEALTH OF KENTUCKY
 2                     FRANKLIN CIRCUIT COURT - DIV 1
 3                        CIVIL ACTION NO. 04-CI-1487
 4    COMMONWEALTH OF KENTUCKY                                   PLAINTIFF
 5    ex rel. JACK CONWAY, ATTORNEY GENERAL
 6    v.
 7    ALPHARMA USPD, INC., et al.
 8

 9                         VIDEOTAPED DEPOSITION OF
10                                 CODY WIBERG
11                            Taken March 14, 2008
12                          Commencing at 9:13 a.m.
13

14             REPORTED BY:       SUZANNE HAGEN, RPR, CRR, CBC
15             Videotaped Deposition of Cody Wiberg, taken on
16    March 14, 2008, commencing at 9:15 a.m., at the law firm
17    of Meagher & Geer, 33 South Sixth Street, #4400,
18    Minneapolis, Minnesota, 55402, before Suzanne Hagen,
19    Registered Professional Reporter, Certified Realtime
20    Reporter, Certified Broadcast Captioner, and Notary
21    Public of and for the State of Minnesota.
22                                   **********


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                                                                             Page 68
  1
      a dispensing fee.
  2
               In theory, in the best -- this is more of an
  3
      opinion.       In the best of all possible worlds, there
  4
      would be pricing transparency, and payers would
  5
      know exactly what purchasers, end -- not end users,
  6
      but providers, pharmacies and doctors, paid for
  7
      drugs.      You would reimburse at that amount.                        And
  8
      then you would set, on the -- in the case of a
  9
      pharmacy, your dispensing fee.                  Or in the case of a
10
      physician, an administration fee.                    You would set
11
      that at a rate that would allow them to cover the
12
      cost of dispensing, which includes things like
13
      paying for staff, paying for computers, paying for
14
      electricity, paying for the rent on the building.
15
      Paying for all of those sort of things.                       And then,
16
      because they are for-profit businesses, and you
17
      want them to remain Medicaid providers, you would
18
      build in some -- what you hoped was some reasonable
19
      profit into the calculations.                 That would -- that
20
      would be the best of all possible worlds, if you
21
      had that.       We didn't have that.              We don't have
22
      pricing.       Didn't have pricing transparency then, I


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                                                                             Page 69
  1
      don't think we have it now.                And so what you end up
  2
      doing -- in our case, because we didn't have the
  3
      authority to go in and actually find out what a
  4
      wide range of pharmacies or physicians were paying
  5
      for drugs, in our case, we did our best using the
  6
      contacts that we had.             Also, mentioning -- should
  7
      have mentioned this before, is we did take a look
  8
      at what other payers had for Maximum Allowable
  9
      Costs, other state Medicaid programs.                      And also
10
      remember, we had managed care organizations under
11
      contract for us.           And they would provide us with
12
      what their Maximum Allowable Costs were. So that's
13
      kind of a crucial thing I forgot to mention. The
14
      pharmacies, as I mentioned, were more of a reality
15
      check to make sure that the information we were
16
      collecting from these other sources sort of fit
17
      what was happening in Minnesota.
18
        Q.     And so you said that you didn't have the --
19
      the ideal world, where the dispensing fee would
20
      cover costs, plus a profit.
21
        A.     Right.
22
        Q.     And the ingredient cost would cover the


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                                                                            Page 231
  1
      notes like this that might be the reason, or it
  2
      might be because you see how the number of people
  3
      on this call, you keep your comments short.
  4
               Basically -- there's no doubt that I thought
  5
      that AWP was a flawed concept.                  Because, again, as
  6
      I mentioned early on, in my perfect world, there
  7
      would be pricing transparency.                  And you would
  8
      adjust reimbursement rates accordingly for
  9
      dispensing fees and administration fees.
10
               When I -- when this attributes to a statement
11
      to me that the market has adapted, I would not read
12
      into that that I thought, because I did not think
13
      then, and I do not think now, that the market
14
      adapted perfectly. You know, again, going back to
15
      that joke/serious phrase, AWP, "ain't what's paid,"
16
      we thought we had some understanding, especially
17
      when you look at the OIG report, and that sort of
18
      thing about some sort of understanding about the
19
      level of discounts off of AWP that drugs were being
20
      sold for.       However, as a result of some of the AWP
21
      litigation I had been aware of, I don't know that
22
      we understood as peers the extent to which in some


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                                                                            Page 232
  1
      instances the discounts that providers were
  2
      purchasing off of AWP were perhaps greater than we
  3
      had assumed or we had thought.
  4
        Q.     Are you talking about greater as a
  5
      percentage, or greater as an absolute dollar
  6
      amount?
  7
        A.     Greater as a percentage.               Basically, that,
  8
      you know -- that -- that basically, when you are
  9
      reading the OIG report, and they're talking about
10
      brand name drugs being 21 at first or 70 percent
11
      off AWP, that, in fact, in some instances, for some
12
      drugs, and I'm not going to be able to name them
13
      for you now, but the actual discounts that were
14
      being provided were more than that.
15
        Q.     And so for a brand, where you were expecting
16
      AWP minus 17, you, in fact, found out that some
17
      brands had AWP minus something much more than 17
18
      percent.
19
        A.     As I recall, yes.           There were instances of
20
      that happening.
21
        Q.     Now, for a generic you can't get much more
22
      than --


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                                                                            Page 262
  1
        Q.     Okay.     I believe you also testified to a
  2
      phrase that if you've seen one state Medicaid
  3
      pharmacy program, you've only seen one.                       Would you
  4
      agree that states have a flexibility in determining
  5
      how they structure their -- their own program?
  6
        A.     Yes, they do.
  7
        Q.     Okay.     And --
  8
        A.     Within certain general parameters.
  9
        Q.     Right.
10
        A.     As I testified earlier as to what a State
11
      Plan is, I'm not sure if I mentioned that every
12
      time -- once -- once that initial State Plan is
13
      approved, which is what would have happened years
14
      ago, every time you make a change, a substantive
15
      change, you have to do a State Plan amendment.                                And
16
      that has to be approved by CMS.
17
        Q.     Okay.     So you could choose -- Minnesota could
18
      choose to use AWP or WAC, or any other of these
19
      pricing --
20
        A.     At the time I was there, yes.                  You know, I'm
21
      not familiar with -- with what's going on now.                                I
22
      think the Deficit Reduction Act, I think is what


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                                                                            Page 263
  1
      it's called, has made some changes to what states
  2
      are supposed to be doing in the last couple years,
  3
      since I left.         But at the time, yes, we had some
  4
      flexibility.
  5
        Q.     Okay.     And you -- I mean, you didn't have to
  6
      choose to use AWP.
  7
        A.     No.
  8
        Q.     All right.        Okay.     And basically, the
  9
      different states are able to structure their
10
      programs in ways to meet their access needs and
11
      their different kind of individual state needs.
12
        A.     Yeah.     Again, within general constraints.
13
        Q.     Right.      Okay.     You also had earlier testified
14
      about the usual and customary charge, and you
15
      explained that Minnesota uses a lesser of formula.
16
        A.     Correct.
17
        Q.     AWP and MAC or usual and customary.                       Would
18
      you agree that the usual and customary charges is
19
      set by the provider, you testified, correct?
20
        A.     Correct.
21
        Q.     Is that basically the price at which the
22
      provider values his or her services as a whole?


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